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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

OCWEN LOAN SERVICING, LLC,                §
                                          §
             Plaintiff,                   §
                                          §
v.                                        §          No. 3:18-cv-1197-S
                                          §
KINGMAN HOLDINGS, LLC and                 §
GAYNELLE IHMS,                            §
                                          §
             Defendants.                  §


       FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
                 UNITED STATES MAGISTRATE JUDGE

       Plaintiff Ocwen Loan Servicing, LLC brought an action before this Court against

Defendants Kingman Holdings, LLC and Gaynelle Ihms. See Dkt. No. 1. Defendant

Kingman Holdings, LLC has since filed its answer, see Dkt. No. 6, however, Defendant

Gaynelle Ihms has not appeared through counsel or filed an answer within the Court’s

established time limit. As such, Plaintiff filed a Motion for Default Judgment against

Defendant Ihms, see Dkt. No. 14, and United States District Judge Karen Gren Scholer

referred the motion to the undersigned magistrate judge for recommendation. See Dkt.

No. 16.

       Plaintiff seeks a default judgment against Ihms that would allow for the

foreclosure of Ihms’ interest in a disputed property and the award of court costs and

attorneys’ fees.

       The undersigned recommends that Plaintiff’s Motion for Default Judgment [Dkt.


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No. 14] be denied for the failure to demonstrate that Ihms is, in fact, in default as

required under Texas Rule of Civil Procedure 735 to foreclose a lien created by a home

equity loan.

                                    Background

        The instant case turns on the ownership status of Unit 317, located at 6255 W.

Northwest Highway, Dallas, Texas (“the Property”). See Dkt. No. 1 at 2. Ten parties

were associated with the Property during the time frame in question. See id. at 3-5.

However, only three are relevant to our inquiry: Defendant Gaynelle Ihms, the party

who originally took out a mortgage on the Property; Plaintiff Ocwen Loan Servicing,

the Property’s mortgage servicer; and Defendant Kingman Holdings, LLC, a party who

later purchased the Property from the foreclosure purchaser. See id.

        In 2005, Defendant Ihms entered into a mortgage agreement with Ameriquest

Mortage Company. See id. at 3. Ihms excuted a Note in Ameriquest’s favor and granted

the company a first lien on the Property. See id. Ameriquest then sold the Security

Interest to Deutsche Bank, which enlisted Ocwen to serve as the mortgage servicer. See

id.

        The Property itself was a part of the Preston Place Condominium Association.

See id. The Association’s Declarations and Covenants compelled each owner to pay the

Association assessment fees – the failure of which would allow the Association to

recover such fees through a foreclosure sale. See id.

        In 2011, Defendant Ihms conveyed her interest in the Property to Bormio



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Investments, Inc., which then later conveyed the Property to Fortezza Enterprises, Inc.

See id. at 4. Fortezza then defaulted on the fees owed to the Association in 2015, which

led the Association to file a lien against the property and institute a foreclosure sale.

See id. A company named Northwest Highway 6255 Land Trust bought the Property

at the foreclosure sale and subsequently conveyed it to Defendant Kingman Holdings.

See id.

      Separately, in 2010, Defendant Ihms defaulted on her original loan payment

that Ocwen was servicing. See id. at 5. Ocwen allegedly sent Ihms a Notice of Default

and Request to Cure, to which she failed to respond. Ocwen allegedly then sent notice

that the debt had been accelerated. See id.

      On March 3, 2017, the entire Preston Place Condominium building was

destroyed by a fire. See id. at 4. The collective owners elected to terminate the

Association and sell the site to Provident Preston Place, LLC for $18,250,000. See id.

at 5. Under the agreement, any sale proceeds would be distributed to release any first

lien mortgage on any unit in the original building. See id.

      Ocwen now seeks in this case to assert that (1) Deutsche Bank’s lien interest in

the Property is valid, and (2) that Defendant Kingman took the Property subject to

Deutsche Bank lien interest. See id. Further, Ocwen seeks a judgment for foreclosure

against Ihms, allowing it to foreclose on the Property in accordance with the Security

Instrument. See id.

      But, because of Ihms’ failure to appear and respond to Plaintiff’s complaint,



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Plaintiff filed a Motion for Default Judgment against Defendant Ihms, seeking an

order allowing it to foreclose on her interest in the Property.

                                   Legal Standards

      Under Federal Rule of Civil Procedure 55(a), a default judgment is proper

“[w]hen a party against whom a judgment for affirmative relief is sought has failed to

plead or otherwise defend.” FED. R. CIV. P. 55(a). Rule 55(b)(2) of the Federal Rules of

Civil Procedure governs applications to the Court for default judgment. See FED. R. CIV.

P. 55(b)(2). A plaintiff seeking a default judgment must establish (1) that the defendant

has been served with the summons and complaint and that default was entered for its

failure to appear; (2) that the defendant is neither a minor nor an incompetent person;

(3) that the defendant is not in military service or not otherwise subject to the Soldiers

and Sailors Relief Act of 1940; and (4) that, if the defendant has appeared in the action,

the defendant was provided with notice of the application for default judgment at least

three days prior to the hearing. See FED. R. CIV. P. 55; Twentieth Century Fox Film

Corp. v. Streeter, 438 F. Supp. 2d 1065, 1070 (D. Ariz. 2006).

      In the Fifth Circuit, three steps are required to obtain a default judgment: (1)

default by the defendant; (2) entry of default by the Clerk’s office; and (3) entry of a

default judgment by the district court. See Arch Ins. Co. v. WM Masters & Assocs., Inc.,

No. 3:12-cv-2092-M, 2013 WL 145502, at *2-*3 (N.D. Tex. Jan. 14, 2013) (quoting New

York Life Ins. Co. v. Brown, 84 F.3d 137, 141 (5th Cir. 1996). A default occurs when a

defendant has failed to plead or otherwise respond to the complaint within the time



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required by the Federal Rules of Civil Procedure. See id. The clerk will enter default

when default is established by an affidavit or otherwise. See id. After the clerk’s entry

of default, a plaintiff may apply to the district court for a judgment based on such

default. See id.

         When making a determination as to whether or not to enter a default judgment,

district courts are to consider the following factors: (1) whether material issues of fact

are at issue; (2) whether there has been substantial prejudice; (3) whether grounds for

default are clearly established; (4) whether default was caused by good faith mistake

or excusable neglect; (5) the harshness of default judgment; and (6) whether the court

would feel obligated to set aside a default on the defendant’s motion. See Arch Ins. Co.,

2013 WL 145502, at *2-*3 (quoting Lindsey v. Prive Corp., 161 F.3d 886, 893 (5th Cir.

1998).

         Entry of default judgment is completely within the Court’s discretion. See

Lindsey, 161 F.3d at 893. The Court appropriately enters default judgment when a

defendant fails to answer or otherwise refuses to obey court orders. See Bonanza Int’l,

Inc. v. Corceller, 480 F.2d 613, 614 (5th Cir. 1973); see also McGrady v. D’Andrea Elec.,

Inc., 434 F.2d 1000, 1001 (5th Cir. 1970).

         “‘A default judgment is unassailable on the merits but only so far as it is

supported by well-pleaded allegations, assumed to be true.’” Wooten v. McDonald

Transit Assocs., Inc., 788 F.3d 490, 496 (5th Cir. 2015) (quoting Nishimatsu Constr. Co.

v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir.1975)).



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      Federal Rule of Civil Procedure 8(a)(2) “requires a pleading to contain a short

and plain statement of the claim showing that the pleader is entitled to relief. The

purpose of this requirement is to give the defendant fair notice of what the claim is and

the grounds upon which it rests.” Id. at 498 (internal quotation marks omitted). “The

factual allegations in the complaint need only be enough to raise a right to relief above

the speculative level, on the assumption that all the allegations in the complaint are

true (even if doubtful in fact).” Id. (internal quotation marks omitted). “[D]etailed

factual allegations are not required, but the pleading must present more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. (internal quotation

marks omitted).

      A default causes all well-pleaded allegations of fact related to liability to be

deemed admitted. See Jackson v. FIE Corp., 302 F.3d 515, 521, 524–25 (5th Cir. 2002).

Although the Court must accept these facts as true, the default alone does not warrant

entry of default judgment, as the Court must determine whether the well-pleaded facts

state a claim upon which relief may be granted. See Nishimatsu, 515 F.2d at 1206

(“There must be a sufficient basis in the pleadings for the judgment entered . . . .

[D]espite occasional statements to the contrary, a default is not treated as an absolute

confession by the defendant of his liability and of the plaintiff's right to recover.”).

                                        Analysis

      Plaintiff seeks a default judgment against Defendant Ihms that would allow for

the foreclosure of Ihms’ interest in the Property and the award of court costs and

attorneys’ fees.

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      Here, Plaintiff has proffered information to show that (1) Defendant Ihms was

served with the summons and complaint, and that default was entered for Ihms’ failure

to appear, see Dkt. Nos. 9 & 15; (2) no evidence in the record points to Ihms being a

minor nor an incompetent person; and (3) Ihms is not in military service or not

otherwise subject to the Soldiers and Sailors Relief Act of 1940, see Dkt. No. 1, Ex. A-1.

      There is no evidence before the Court that “a good faith mistake or excusable

neglect” caused the default. See Arch Ins. Co., 2013 WL 145502, at *2-*3. Defendant

Ihms was served with a copy of the complaint through personal service on July 10,

2018. See Dkt. No. 9. Defendant Ihms had over five weeks to obtain counsel, answer

or otherwise respond to Plaintiff’s complaint, or alternatively communicate with the

Court to prevent the “drastic” remedy of a default judgment. Defendant Ihms failed to

do any of these things.

      But, despite the evidence Plaintiff has proffered in support of a default

judgment, Plaintiff has not established that it is entitled to judicial foreclosure.

      Under Texas Rule of Civil Procedure 735, a party seeking to foreclose a lien

created by a home equity loan may do so by using one of three methods: “(1) a suit

seeking judicial foreclosure; (2) a suit or counterclaim seeking a final judgment which

includes an order allowing foreclosure under the security instrument and TEX. PROP.

CODE § 51.002; or (3) an application under [Texas Rule of Civil Procedure 736] for an

order allowing foreclosure.” TEX. R. CIV. P. 735.

      Texas courts have required that the party pursuing judicial foreclosure

demonstrate “that: (1) a debt exists; (2) the debt is secured by a lien created under Art.

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16, § 50(a)(6) of the Texas Constitution; (3) [the borrowers] are in default under the

note and security instrument; and (4) [the borrowers] received notice of default and

acceleration.” Weeks v. Green Tree Servicing LLC, No. 4:15-cv-00588-O-BP, 2017 WL

4325797, at *7 (N.D. Tex. Sept. 11, 2017) (internal quotation marks omitted). A lender

is only entitled to judicial foreclosure if it can affirmatively demonstrate that the

borrower is in default. See Huston v. U.S. Bank Nat’l Ass’n, 988 F. Supp. 2d 732, 740

(S.D. Tex. 2013), aff’d, 583 F. App’x 306 (5th Cir. 2014).

       Plaintiff’s complaint supports the first, third, and fourth elements with

well-pleaded allegations:

•      “As part of the loan agreement, Ihms also executed a Texas Home Equity

       Security Instrument (First Lien) which granted Ameriquest a first lien interest

       on the Property”;

•      “Ihms has defaulted on her obligations under the terms of her loan agreement.

       The loan agreement is currently due for the July 1, 2010 [sic] payment and all

       subsequent monthly payments”; and

•      “[n]otice of default and request to cure was mailed to Ihms in accordance with

       the Loan Agreement and the Texas Property Code. The default was not cured,

       and the maturity of the debt is hereby accelerated.”

Dkt. No. 1 at 3-5.

       But Plaintiff’s complaint does not adequately support the second requirement

with well-pleaded allegations. Plaintiff pleads that:

       On or about June 21, 2005, Ihms obtained a Texas Home Equity

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      Adjustable Rate Note from Ameriquest Mortgage Company
      (“Ameriquest”). As part of the loan agreement, Ihms also executed a
      Texas Home Equity Security Instrument (First Lien) which granted
      Ameriquest a first lien interest on the Property. Ameriquest’s lien was
      recorded on or about July 5, 2005, in the Dallas County Real Property
      Records as Instrument Number 3416903 (the “Security Instrument”).

Dkt. No. 1 at 3.

      These allegations fail to establish – as Plaintiff’s complaint must to support a

default judgment against Ihms for judicial foreclosure on her interest in the Property

– that the debt is secured by a lien created under Article 16, § 50(a)(6) of the Texas

Constitution. See HSBC Bank USA, N.A. v. Soria, No. H-17-2174, 2018 WL 461112,

at *2-*3 (S.D. Tex. Jan. 17, 2018); U.S. Bank, N.A. v. Ross, et al., No. H-15-2385, 2017

WL 2730769, at *2 (S.D. Tex. June 26, 2017).

      The plaintiff in Soria made an almost identical pleading about the facts relevant

to the second element:

      On or about November 24, 2004, the Sorias obtained a Home Equity
      Adjustable Rate Note (the “Note”) from Resmae Mortgage Corporation.
      As part of the loan agreement, the Sorias also executed a Texas Home
      Equity Security Instrument (First Lien) (the “Security Instrument”). In
      the Security Instrument, Mortgage Electronic Registration Systems, Inc.
      as nominee for lender and Lenders Successors and Assigns (“MERS”) was
      named as the beneficiary. The Security Instrument was recorded on or
      about December 6, 2004, in the Harris County Real Property Records as
      Instrument Number 30052935.

Complaint at 3, Soria, 2018 WL 461112, Dkt. No. 1. But the court in Soria held that

the plaintiff was not entitled to the remedy of foreclosure – and grant of a default

judgment – because such a showing did not establish that the second element had been

alleged. 2018 WL 461112, at *3.“Further, because [the plaintiff] did not attach any of


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the loan documents to the complaint or motion for default judgment, the court [could

not] determine whether [the plaintiff’s] lien was created under Art. XVI, § 50(a)(6) of

the Texas Constitution”) (citations omitted). Id.

       The court in Ross, et al. reached the same determination. See 2017 WL 2730769,

at *2. The plaintiff in that case pled that,

       [o]n or about September 2, 1980, Defendants Earl E. Ross Jr. and Cheryl
       L. Ross (the “Rosses”) executed a Deed of Trust Note in the principal
       amount of $62,200.00 (“Note”), originally payable to Sam Houston
       Mortgage Corporation (“Sam Houston Mortgage”) as lender on a loan
       secured by the Property. Concurrently with the execution of the Note, the
       Rosses executed a Deed of Trust (“Security Instrument,” and all together
       with the Note, “Loan Agreement”), as grantors, granting Sam Houston
       Mortgage, its successors and assigns, a security interest in the Property.
       The Security Instrument was recorded in the Real Property Records of
       Harris County, Texas, under document number G687431.

Complaint at 5, Ross, et al., 2017 WL 2730769, Dkt. No. 1. The court held that the

plaintiff “[did] not meet the second or fourth requirements.” Ross, et al., 2017 WL

2730769, at *2.

       The court in Soria also explained that, “[i]n its complaint, [the plaintiff] pleads

‘judicial foreclosure’ as its cause of action”; that “judicial foreclosure is a remedy rather

than a cause of action”; and that, “[o]ut of an abundance of caution, the court will

consider whether HSBC is entitled to the remedy of foreclosure even though it did not

plead a viable claim as is required under Rule 8(a).” 2018 WL 461112, at *3 n.1; accord

Ross, et al., 2017 WL 2730769, at *2-*3.

       Like the plaintiffs in Soria and Ross, et al., even assuming Plaintiff here pleaded

a valid cause of action for judicial foreclosure, Plaintiff did not adequately allege the


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second element and has also not provided any loan documentation for the undersigned

to review in the absence of such an express pleading. Because the well-pleaded

allegations of fact related to liability that are deemed admitted do not support a finding

that the debt is one secured by a lien created under Art. 16, § 50(a)(6) and, ultimately,

whether Plaintiff is entitled to the remedy of judicial foreclosure, Plaintiff has failed

to establish the requirement element that Ihms is in default as required under Rule

735 to foreclose a lien created by a home equity loan.

                                  Recommendation

      For theses reasons, the Court should deny Plaintiff’s Motion for Default

Judgment [Dkt. No. 14].

      A copy of these findings, conclusions, and recommendation shall be served on all

parties in the manner provided by law. Any party who objects to any part of these

findings, conclusions, and recommendation must file specific written objections within

14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b).

In order to be specific, an objection must identify the specific finding or

recommendation to which objection is made, state the basis for the objection, and

specify the place in the magistrate judge’s findings, conclusions, and recommendation

where the disputed determination is found. An objection that merely incorporates by

reference or refers to the briefing before the magistrate judge is not specific. Failure

to file specific written objections will bar the aggrieved party from appealing the

factual findings and legal conclusions of the magistrate judge that are accepted or

adopted by the district court, except upon grounds of plain error. See Douglass v.

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United Servs. Auto. Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).

      DATED: December 14, 2018




                                       _________________________________________
                                       DAVID L. HORAN
                                       UNITED STATES MAGISTRATE JUDGE




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